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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

LOCAL 513, INTERNATIONAL UNION OF       )
OPERATING ENGINEERS, AFL-CIO, TIMOTHY)
J. SAPPINGTON, IN HIS REPRESENTATIVE    )
CAPACITY AS PRESIDENT AND BUSINESS )
MANAGER, LOCAL UNION 513 PENSION        )
FUND, LOCAL UNION 513 HEALTH AND        )
WELFARE FUND, LOCAL UNION 513           )
SUPPLEMENTAL VACATION FUND, LOCAL )
UNION 513 ANNUITY FUND, LOCAL UNION )                   Case No.
513 JOINT APPRENTICESHIP TRAINING       )                  .
FUND, and TIMOTHY J. SAPPINGTON, IN HIS )
CAPACITY AS CHAIRMAN OF THE BOARD )
OF TRUSTEES OF SAID FUNDS,              )
                                        )
                  Plaintiffs,           )
                                        )
      v.                                )
                                        )
INNOVATED CONSTRUCTION SERVICES,        )
LLC,                                    )
                                        )
                  Defendant.            )

                                        COMPLAINT

       COME NOW Plaintiffs, by and through undersigned Counsel, and for their Complaint

against Defendant, state as follows:

                                            Parties

       1.      Plaintiff Local 513, International Union of Operating Engineers, AFL-CIO

(hereinafter “Local No. 513”), is a voluntary unincorporated association existing pursuant to the

laws of the State of Missouri, is an “employee organization” within the meaning of Section 3(4)

of the Employee Retirement Income Security Act of 1974 (hereinafter “ERISA”), as amended, 29

U.S.C. §1002(4), and is a labor organization within the meaning of Section 1(5) of the Labor-

Management Relations Act of 1947 (hereinafter “LMRA”), as amended, 29 U.S.C. §151(5).
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Plaintiff Timothy J. Sappington (hereinafter “Plaintiff Sappington”) is the duly authorized

representative of Local No. 513 and is authorized to bring this cause of action in his representative

capacity.

       2.      Plaintiff Local Union 513 Pension Fund (hereinafter “Pension Fund”) is an

employee benefit plan within the meaning of Sections 3(1) and (3), 502 and 515 of ERISA, 29

U.S.C. §§1002(1), (3), 1132 and 1145. Plaintiff Sappington is the Chairman and duly designated

Trustee of the Pension Fund and is a fiduciary within the meaning of Section 3(21)(A) and 502 of

ERISA, 29 U.S.C. §§1002(21)(A) and 1032. Plaintiff Sappington is authorized to maintain this

cause of action pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. §1132(a)(3) to enforce the

terms of an ERISA plan.

       3.      Plaintiff Local Union 513 Health and Welfare Fund (hereinafter “Welfare Fund”)

is an employee benefit plan within the meaning of Sections 3(1) and (3), 502 and 515 of ERISA,

29 U.S.C. §§1002(1), (3), 1132 and 1145. Plaintiff Sappington is the Chairman and duly

designated Trustee of the Pension Fund and is a fiduciary within the meaning of Section 3(21)(A)

and 502 of ERISA, 29 U.S.C. §§1002(21)(A) and 1032. Plaintiff Sappington is authorized to

maintain this cause of action pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. §1132(a)(3) to

enforce the terms of an ERISA plan.

       4.      Plaintiff Local Union 513 Supplemental Vacation Fund (hereinafter “Vacation

Fund”) is an employee benefit plan within the meaning of Sections 3(1) and (3), 502 and 515 of

ERISA, 29 U.S.C. §§1002(1), (3), 1132 and 1145. Plaintiff Sappington is the Chairman and duly

designated Trustee of the Pension Fund and is a fiduciary within the meaning of Section 3(21)(A)

and 502 of ERISA, 29 U.S.C. §§1002(21)(A) and 1032. Plaintiff Sappington is authorized to




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maintain this cause of action pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. §1132(a)(3) to

enforce the terms of an ERISA plan.

         5.    Plaintiff Local Union 513 Annuity Fund (hereinafter “Annuity Fund”) is an

employee benefit plan within the meaning of Sections 3(1) and (3), 502 and 515 of ERISA, 29

U.S.C. §§1002(1), (3), 1132 and 1145. Plaintiff Sappington is the Chairman and duly designated

Trustee of the Pension Fund and is a fiduciary within the meaning of Section 3(21)(A) and 502 of

ERISA, 29 U.S.C. §§1002(21)(A) and 1032. Plaintiff Sappington is authorized to maintain this

cause of action pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. §1132(a)(3) to enforce the

terms of an ERISA plan.

         6.    Plaintiff Local Union 513 Joint Apprenticeship Training Fund (hereinafter “JATF

Fund”) is an employee benefit plan within the meaning of Sections 3(1) and (3), 502 and 515 of

ERISA, 29 U.S.C. §§1002(1), (3), 1132 and 1145. Plaintiff Sappington is the Chairman and duly

designated Trustee of the Pension Fund and is a fiduciary within the meaning of Section 3(21)(A)

and 502 of ERISA, 29 U.S.C. §§1002(21)(A) and 1032. Plaintiff Sappington is authorized to

maintain this cause of action pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. §1132(a)(3) to

enforce the terms of an ERISA plan.

         7.    Together, the foregoing Pension Fund, Health and Welfare Fund, Supplemental

Vacation Fund, Annuity Fund and Joint Apprenticeship Training Fund shall be referred to as the

“Plaintiff Funds.”

         8.    Defendant Innovated Construction Services, LLC (hereinafter “Defendant”) is a

Missouri Corporation with a registered agent residing at 10633 Page Avenue, St. Louis, Missouri

63132.




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       9.      Defendant is, was and at all relevant times has been an employer in an industry

affecting commerce within the meaning of Section 3(5), (11), (12) and 515 of ERISA, as amended,

29 U.S.C. §§1002(5), (11), (12) and 1145, and of §§2(2), (6) and (7) of the LMRA, 29 U.S.C.

§§152(2), (6) and (7).

                                     Jurisdiction and Venue

       10.     This Court has jurisdiction over this matter by virtue of Sections 502(a)(3) and 515

of ERISA, as amended, 29 U.S.C. §1132(a), (3) and 1145, in that Plaintiff Sappington is a fiduciary

who seeks to enforce the provisions of the Trust documents establishing the Plaintiff Funds, and

the Union is suing for violations of its Collective Bargaining Agreement or Agreements with

Defendant.

       11.     The Court has personal jurisdiction over Defendant, pursuant to ERISA Section

502(e), 29 U.S.C. §1132(e).

       12.     Venue is proper pursuant to ERISA Section 502(e)(2), 29 U.S.C. §1132(e)(2), in

that the Plaintiff Funds are administered within the jurisdiction of this Court and because Local

No. 513 maintains its principal office within the jurisdiction of this Court.

                                          Common Facts

       13.     At all times relevant to this Complaint, Defendant was and has been signatory to a

valid and binding Collective Bargaining Agreement (the “CBA”) with Local No. 513.

       14.     At all times relevant to this Complaint, Defendant was and has been signatory to a

Participation Agreement with the Plaintiff Funds by which Defendant became signatory to and

obligated itself to the terms and conditions of certain Trust Documents adopted by the Trustees of

the Plaintiff Funds and establishing the Plaintiff Funds.




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        15.     The CBA and/or Trust Documents impose certain payment and reporting

obligations upon signatory contractors, including Defendant.

        16.     The CBA and/or Trust Documents require Defendant to timely submit reports of

hours worked by its employees covered by the CBA, along with financial contributions.

        17.     Signatory contractors, including Defendant, are required to submit reports of hours

worked by covered employees, with payment, by the 20th of each month for the prior month’s

work.

        18.     The CBA and/or Trust Documents provide that in the event a signatory contractor

fails to submit timely reports of hours, or timely payments, the contractor shall be liable for

liquidated damages in the amount of twenty percent (20%) of contributions due.

        19.     The CBA and/or Trust Documents further provide that in the event of litigation to

recover a delinquency, the contractor shall be liable for the costs of collection, including court

costs, interest and attorneys’ fees.

        20.     Despite its obligations as set forth herein, Defendant has become delinquent to the

Plaintiff Funds in a principal amount and in liquidated damages.

        21.     Defendant, however, is believed not to have fully, accurately and completely

reported its fringe benefit obligation to the Plaintiff Funds for an extended period of time and the

full amount of its liability is, therefore, unknown.

        22.     Pursuant to ERISA Section 502(g)(2)(E), 29 U.S.C. § 1132(g)(2)(E), Plaintiffs are

entitled to appropriate equitable relief.

        23.     Since the full amount of contributions due is not known, Plaintiffs lack an adequate

remedy at law and are suffering, and will continue to suffer, immediate, continuing and

irreconcilable injury and damage unless Defendant is ordered to specifically perform all its



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obligations required under the CBA and Trust Documents, to submit its records to an audit, and to

pay required contributions and ancillary amounts to the Plaintiff Funds.

       24.     As a result of Defendant’s failure to make these required contributions, Plaintiffs

have been harmed.

       WHEREFORE, Plaintiffs pray that the Court:

       a.      Enter Judgment for Plaintiffs and against Defendant;

       b.      Enter an Order awarding Plaintiffs all delinquent contributions due and owing, in

               an amount subject to proof;

       c.      Enter an interlocutory order requiring Defendant to submit its records to an audit,

               and further, that Defendant reimburse Plaintiffs the cost of said audit;

       d.      Enter an order awarding additional contributions determined to be due and owing

               pursuant to the audit;

       e.      Enter an order awarding Plaintiffs appropriate pre-judgment interest from the due

               date of all delinquent contributions to the date of judgment;

       f.      Enter an order awarding Plaintiffs liquidated damages in the amount of 20% of the

               principle delinquency;

       g.      Enter an injunction requiring Defendant to timely submit its monthly Contribution

               Report Forms on a going forward basis;

       h.      Enter an order awarding Plaintiffs their attorney’s fees, auditing fees, accounting

               fees, expert fees and other costs;

       i.      Enter an Order awarding Plaintiffs appropriate post-judgment interest; and

       j.      Enter orders for such further relief as the Court deems proper in the premises.




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                                 Respectfully submitted,

                                 HARTNETT REYES-JONES, LLC


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